     Case 4:19-cv-00658-P Document 12 Filed 11/26/19           Page 1 of 1 PageID 49



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

JUSTIN FERGUSON,                            §
                                            §
        Plaintiff,                          §
                                            §
v.                                          §
                                                      Civil Action No. 4:19-cv-00658-P
                                            §
LEISERV, LLC, et al.,                       §
                                            §
        Defendants.                         §


                                         ORDER

       On November 22, 2019, Plaintiff filed a Notice of Settlement (ECF No. 11) and

explained that the parties needed forty-five days to file dismissal papers. The Court sets

the Notice of Dismissal for a thirty-minute hearing on Wednesday, December 11, 2019,

at 9:00 a.m. in the Fourth Floor Courtroom of the Eldon B. Mahon United States

Courthouse, located at 501 W. 10th Street, Fort Worth, Texas.

       All counsel and parties are ORDERED to attend. Counsel should be prepared to

answer questions and discuss about the notice, why the parties need this amount of time,

and all matters currently pending before the Court.

       SO ORDERED on this 26th day of November, 2019.




                                      Mark T. Pittman
                                      UNITED STATES DISTRICT JUDGE
